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                                                                              5


                                                                                         Aug 8, 2018

                            U N ITED STA TES D ISTR IC T C O U RT
                            SO U TH E RN DISTR ICT O F FLO R IDA

                           CA SE N O .     18-20669-CR-SCOLA/TORRES
                                       18U.S.C.j1956(h)
                                       18U.S.C.j981(a)(1)(C)

  UN ITED STA TE S O F AM ER ICA

 V.

 EV ELIO SU AR EZ,

                D efendant.
                                            /

                                         INFO R M ATIO N

        The U nited States Attom ey charges that:

                   C O N SPIM C Y TO CO M M IT M O N EY L AU N DE RIN G
                                     (18U.S.C.j1956(h))
        From in or around October 2012,continuing through in or around Decem ber 2015, in

 M iam i-Dade County,in the Southem DistrictofFlorida,thedefendaùt,

                                      EV ELIO SU A REZ ,

 did willfully,thatis,with the intentto furtherthe objectofthe conspiracy,and knowingly
 combine,conspire,confederate,and agree with others,both known and Ilnknown to the United

 States Attom ey,to violate Title 18,United States Code,Section .1956,thatis,to knowingly

 conduct financial transactions affecting interstate com m erce, w hich financial transactions

 involved the proceeds of specified tm law ful activity,know ing thatthe property involved in the

 financialtransactions represented the proceeds of som e form of unlaw ful activity, and know ing

 thatthe transactions w ere designed in whole and in partto concealand disguise the nature, the

 location, the source, the ownership, and the control of the proceeds of specitied unlawful
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  activity,inviolationofTitle18,United StatesCode,Section 1956(a)(1)(B)(i).
         Itis further alleged thatthe specified unlaw ful activity is w ire f'
                                                                             raud,in violation ofTitle

  18,U nited States Code, Section 1343, and health care fraud, in violation of Title 18,U nited

  StatesCode,Section 1347.

        Allinviolation ofTitle18,UnitedStatesCode,Section 1956(h).
                                          FO R FEITU RE
                                      18U.s.C.j981(a)(1)(C)
                TheallegationsofthisInform ation arere-alleged and incorporated by reference as

 though fully setforth herein forthe pup ose of alleging crim inalforfeiture to the U nited Statesof

 propertyinwhich thedefendant,EVELIO SUAREZ,hasan interest.

        2.      Upon conviction of aviolation ofTitle 18,UnitedStatesCode,Section 1956(h),
 as alleged in this lnformation,the defendant so convicted shallforfeitto the United States of

 America,pursuantto Title 18,United States Code,Section 982(a)(1),any property,real or
 personal,involved in such violation,orany property traceable to such property.
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         A 11 pursuant to Title 18, United States Code,Section 982(a)(1),and the procedures

  outlined in Title 21, United States Code, Section 853,as made applicable by Title 18, U nited

  StatesCode,Section9820941).


   1              N J.
  BEN JA M W G.G REEN BER
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          .-,' 4t.t------
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 SAN DM M OSER,ACTING CHIEF
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  Case 1:18-cr-20669-RNS Document
                            UNITED13  Entered
                                   STATES     onCT
                                          DISTRI FLSD Docket 08/08/2018 Page 4 of 5
                                                   COURT
                            SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AM ERICA                        CASE NO .

 EV                                                 CER TIFICA TE O F TRIA L ATTO R NEY *
      ELIO SUAREZ,
                             Defendant.
                                            /       Superseding Case lnform ation:


 CourtDivision:(selectonel                         New Defendantts)                 Yes               No
                                                   NumberofN ew Defendants
  X      M iam i             Key W est             Totalnum berofcounts
         FTL                 W PB      FTP
         1do hereby certify that:
                   Ihp
                   ofar
                      ve
                       obcaabrleefwi
                                  ullt
                                     yne
                                       cs
                                        ons
                                         sesidaenrdedthte
                                                        he
                                                         leaglall
                                                                egationsoftheindictmept, thenumberoldefendantsJthenumber
                                                      com plexitiesofthe Indlctm ent/lnformatlon attached hereto.
         2.        Iam aFaretjattheinformationsuppliedopthisstatementwillberelieduponbytheJudgesoftljs
                   Courtln settlng theircalendarsand schedullng criminaltnalsunderthem andate ofthe Speedy Tnal
                  Act,Title 28U .S.C.Section 3161.
                  lnterpreter:      (YesorNo)       Yes
                  Listlanp zage and/ordialect        panlsh
         4.       Thiscase willtake         0      daysforthe partiesto try.
                  Pleasecheck appropriate category and type ofoffense listed below :
                  (Checkonlyone)                                   (Checkonlyone)
         I        0 to 5 days                       X              Petty
         11       6 to 10 days                                     M inor
         H1       l1 to 20 days                                    M isdem .
         IV       21to 60 days                                     Felony                    U
         V        61daysand over
         6f,
         l        HasthiscasebeenpreviouslyfiledinthisDistrictCourt? @ esorNo)                   No
           yes:
         Judge:                                           CaseN o
         (Attachcopy pfdispositiveprdel)                   .
         Hasacomplalntbeenfiledlnthlsmatter?        (YesorNo) Yes
         lfyej:
         M aglstrateCaseNo.                   18-mj-02965-Torres
         RelatedM iscsllaneousnumbers:
         Defendantts)lnfederalcustodyasof
         D
           èfendantts)lnstatpcpstodyasof                '                                '                          '
         Rule 20 from the Dlstnctof
         lsthisapotentialdeathpenalty case?(YesorNo)        No

                  Doesthiscase originate from a matterpending in theN orthern Region ofthe U .S.A ttorney's Office
                  priorto October 14,2003?       Yes                     No x


                                                           #x.- 4 -
                                                          M ICH AEL N .BERGER
                                                          A SSISTANT IJN ITED STATESATTORNEY
                                                          COU RT ID N o.A5501557

*penaltySheetts)attached                                                                                   REV5/3/17
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                       PEN A LTY SHEET
  D efendant'sN am e:EV ELIO SUA REZ

  C ase No:

  Cotmt#:1

 Conspiracvto Comm itM onev Launderina

 Title 18.United StatesCode. Section 1956411)

 *M ax.Penalty:        Twenty(20)years'imprisonment




  *R efers only to possible term ofincarceration, does notinclude possible fines,restitution,
           specialassessm ents,parole term s, or forfeitures that m ay be applicable.
